

People v Collado (2024 NY Slip Op 50762(U))



[*1]


People v Collado (Alexander)


2024 NY Slip Op 50762(U) [83 Misc 3d 128(A)]


Decided on June 25, 2024


Appellate Term, First Department


Published by New York State Law Reporting
Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be
published in the printed Official Reports.



Decided on June 25, 2024
SUPREME COURT, APPELLATE TERM, FIRST
DEPARTMENT

PRESENT: Hagler, P.J., Tisch, James, JJ.



570658/17

The People of the State of New
York, Respondent,
againstAlexander Collado,
Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York,
New York County (Lisa A. Sokoloff, J., at plea; Joanne B. Watters, J., at Outley hearing;
Lyle E. Frank, J., at sentencing), rendered September 28, 2017, convicting him, upon his
plea of guilty, of endangering the welfare of a child, and imposing sentence.




Per Curiam.
Judgment of conviction (Lisa A. Sokoloff, J., at plea; Joanne B. Watters, J., at
Outley hearing; Lyle E. Frank, J., at sentencing), rendered September 28, 2017,
modified, on the law, to the extent of reducing the conviction to disorderly conduct. 
Defendant alleges and the People concede that the Outley court improperly
relied upon sealed records to find that defendant violated the terms of his repleader
agreement (see People v Anonymous, 34 NY3d 631, 641-42, 646 [2020]).
Inasmuch as the People also concede that defendant is entitled to the benefit of that
repleader agreement, namely, that he be permitted to withdraw his plea to the
misdemeanor offense of endangering the welfare of a child (see Penal Law
§ 260.10[1]), and be allowed to replead to disorderly conduct (see Penal
Law § 240.20), a violation, we modify accordingly.
All concur
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
Clerk of the Court  
Decision Date: June 25, 2024









